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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


JASON LEOPOLD and BUZZFEED INC.,                     )
                                                     )

       Plaintiffs,                                   )
                                                     )       Case No. 19-cv-957 (RBW)
       v.                                            )
                                                     )

U.S. DEPARTMENT OF JUSTICE, et. al.,                 )
                                                     )
       Defendants.                                   )

ELECTRONIC PRIVACY INFORMATION                       )
CENTER,                                              )

                                                     )

       Plaintiffs,                                   )
                                                     )       Case No. 19-cv-810 (RBW)
       v.                                            )
                                                     )

U.S. DEPARTMENT OF JUSTICE, et. al.,                 )
                                                     )
       Defendants.                                   )

EMERGENCY MOTION OF PLAINTIFFS JASON LEOPOLD AND BUZZFEED, INC.,
FOR COURT ORDER REQUIRING DEFENDANTS TO REPROCESS THE MUELLER
REPORT BEFORE THE NOVEMBER 3, 2020 PRESIDENTIAL ELECTION IN LIGHT
     OF THE PRESIDENT’S RECENT DECLASSIFICATION AND WAIVER

       This Freedom of Information Act case involves the Mueller Report. Defendant DOJ has

redacted or withheld a variety of records based on a variety of exemptions. While some of these

withholdings result from statutes that prohibit release, many are discretionary and can therefore be

waived. This Court has repeatedly recognized the importance of these records to the November 3,

2020 election.
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       On October 6, 2020, the President of the United States directed that all documents

pertaining to investigations into Russian interference in the 2016 election, which includes the

Mueller investigation, be released to the public, and stated that he had, in fact, previously ordered

this be done. Twitter, @realDonaldTrump, Oct. 6, 2020 at 8:41pm (“I have fully authorized the

total Declassification of any & all documents pertaining to the single greatest political CRIME in

American History, the Russia Hoax. Likewise, the Hillary Clinton Email Scandal. No

redactions!”); Twitter, @realDonaldTrump, Oct. 6, 2020 at 9:21pm (“All Russia Hoax Scandal

information was Declassified by me long ago. Unfortunately for our Country, people have acted

very slowly, especially since it is perhaps the biggest political crime in the history of our Country.

Act!!!”) (attached as Group Exhibit A). As a result, any FOIA exemptions have been waived with

the exception of disclosures prohibited by the Privacy Act, Rule 6(e), or other statutes that prohibit

release.

       As a result, Plaintiffs ask the Court to order the government to reprocess the Report in light

of this waiver. This should be a simple process that requires no independent analysis or

consultation beyond simply reviewing which exemptions were asserted and removing the

applicable redactions based solely on which exemption claimed.

       Due to the impending election and importance of this issue, Plaintiffs have filed this motion

on an emergency basis. The parties have conferred, and the government has indicated that it will

oppose. Plaintiffs respectfully request that the Court order the government to file any opposition

by Monday, October 12, 2020, and schedule a hearing for the earliest available date thereafter so

that the motion may be resolved and any order complied with before the November 3, 2020

election.




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                                   RESPECTFULLY SUBMITTED,

                                   /s/ Matthew V. Topic

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                                   Inc.




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